          Case 24-05116                 Doc 1         Filed 02/11/24        Entered 02/11/24 14:30:23                          Page 1 of 11
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS


 Luc A. Despins, Chapter 11 Trustee                                             Empire Blue Cross Blue Shield
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Douglas S. Skalka, Patrick R. Linsey
 Neubert, Pepe & Monteith, P.C.
 195 Church St. 13th Floor New Haven, CT 06510
 (203)781-2847
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

 Complaint of Chapter 11 Trustee seeking avoidance and recovery of postpetition transfers and
 related relief pursuant to Bankruptcy Code Section 549 and 550


                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 24-05116            Doc 1      Filed 02/11/24          Entered 02/11/24 14:30:23                Page 2 of 11
 B1040 (FORM 1040) (12/15)

                BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                  BANKRUPTCY CASE NO.
Ho Wan Kwok                                     22-50073 (JAM)
DISTRICT IN WHICH CASE IS PENDING               DIVISION OFFICE     NAME OF JUDGE
 Connecticut                                    Bridgeport          Julie A. Manning
                            RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                             DEFENDANT                     ADVERSARY
                                                                    PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
 /s/ Douglas S. Skalka




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  2/11/2024
                                                                                      Douglas S. Skalka




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
    Case 24-05116        Doc 1      Filed 02/11/24        Entered 02/11/24 14:30:23           Page 3 of 11




                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

-----------------------------------------------------------
                                                      x
                                                      :
In re:                                                :       Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :       Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :        (Jointly Administered)
                                                      :
-----------------------------------------------------------
                                                      x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :         Adv. Proceeding No. [           ]
                                 Plaintiff,           :
v.                                                    :
                                                      :
                                                      :         February 11, 2024
                                                      :
EMPIRE BLUE CROSS BLUE SHIELD, :
                                                      :
                                 Defendant.           :
                                                      x
-----------------------------------------------------------

COMPLAINT OF CHAPTER 11 TRUSTEE SEEKING AVOIDANCE AND RECOVERY
   OF POSTPETITION TRANSFERS AND RELATED RELIEF PURSUANT TO
              BANKRUPTCY CODE SECTIONS 549 AND 550

         Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor” or “Kwok”), files this

adversary complaint (the “Complaint”) against defendant Empire Blue Cross Blue Shield (the

“Defendant”), stating as follows:



1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
 Case 24-05116        Doc 1    Filed 02/11/24      Entered 02/11/24 14:30:23      Page 4 of 11




                                     NATURE OF ACTION

          1.   The Trustee commences this adversary proceeding to avoid and recover transfers

of property of the Debtor’s estate effectuated by the Debtor after the commencement of this

Chapter 11 Case and not authorized by the Bankruptcy Court or under Title 11 of the United States

Code (the “Bankruptcy Code”).

          2.   The Debtor, through his alter-ego shell companies, Lamp Capital LLC (“Lamp

Capital”), Golden Spring (New York) Limited (“Golden Spring”), and HCHK Technologies Inc.

(“HCHK Technologies”), transferred funds in the amount of $535,695.51 after the Petition Date

(as defined herein) to the Defendant as initial transferee.

          3.   Because these postpetition transfers of estate property were not authorized by the

Court or under the Bankruptcy Code, they are subject to avoidance and recovery under sections

549 and 550 of the Bankruptcy Code.

                                       JURISDICTION AND VENUE

          4.   This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. § 1334(b).

          5.   This adversary proceeding has been referred to this Court pursuant to 28 U.S.C. §

157(a).

          6.   The statutory predicates for the relief sought herein include 11 U.S.C. §§ 549 and

550.

                                          THE PARTIES

          7.   The Trustee is the chapter 11 trustee in the Chapter 11 Case pursuant to the

Bankruptcy Court’s order entered on July 8, 2022 [Case No. 22-50073 (the “Main Case”) Docket

No. 523].


                                                  2
    Case 24-05116        Doc 1      Filed 02/11/24        Entered 02/11/24 14:30:23   Page 5 of 11




         8.       The Defendant is a domestic company with offices located at 220 Virginia

Avenue, Mail Point IN0202-B560, Indianapolis, Indiana 46204.

                                                     FACTS

A.       Chapter 11 Case

         9.       The Debtor filed a voluntary petition for relief under Chapter 11 of Title 11 of the

Bankruptcy Code on February 15, 2022 (the “Petition Date”) in the United States Bankruptcy

Court for the District of Connecticut (the “Court” or “Bankruptcy Court”), thus commencing the

above-captioned chapter 11 case (the “Chapter 11 Case”).

         10.      On March 21, 2022, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors in this Chapter 11 Case. No examiner has been appointed.

         11.      The Debtor’s bankruptcy schedules, filed in March 2022 with the Bankruptcy

Court, claimed that he owned $3,850 in assets and had incurred hundreds of millions of dollars of

liabilities.2 While the Debtor was, indeed, deeply indebted, his schedules failed to disclose the

Debtor’s property as held and transferred through his many alter-ego shell companies, including

Lamp Capital, Golden Spring, and HCHK Technologies.

         12.      On June 15, 2022, the Court entered a memorandum of decision and order [Main

Case Docket No. 465] directing the United States Trustee to appoint a chapter 11 trustee in the

Chapter 11 Case. Pursuant to this order, the United States Trustee selected Luc A. Despins as the

Trustee. On July 8, 2022, the Court entered an order granting the appointment of Luc A. Despins

as the Trustee in the Chapter 11 Case [Main Case Docket No. 523].




2
     Schedule of Assets and Liabilities, at 1 (Main Case, Docket No. 78).

                                                         3
    Case 24-05116        Doc 1      Filed 02/11/24        Entered 02/11/24 14:30:23               Page 6 of 11




B.       Debtor’s Use of Shell Companies and Trustee’s Adversary Proceedings

         13.      Lamp Capital, Golden Spring, and HCHK Technologies are among the numerous

alter-ego shell companies used by the Debtor to defraud his creditors.3 For years, the Debtor has

orchestrated a “shell game,” employing a convoluted web of shell companies, nominally owned

by family members and subordinates, but in reality, controlled by the Debtor. This shell game

enabled the Debtor to use, spend, and transfer millions of dollars of cash and other assets—while

concealing his property from creditors.

         14.      Since his appointment, the Trustee has commenced a number of adversary

proceedings in the Chapter 11 Case to, among other things, establish that the Debtor’s shell

companies were his alter-egos and/or that such companies and their assets were equitably owned

by the Debtor and in several adversary proceedings, the Bankruptcy Court has already granted

such relief.4




3
     Default has entered against HCHK Technologies in the adversary proceeding Despins v. HCHK Technologies,
     Inc., et. al (Adv. Proc. No. 23-5013 (the “HCHK Entities A.P.”), Docket No. 139), which adversary proceeding
     seeks, among other things, a declaratory judgment that HCHK Technologies was the alter ego of the
     Debtor. The Trustee incorporates by reference herein, the Trustee’s Complaint filed in the HCHK Entities A.P.
     (Adv. Proc. No. 23-5013, Docket No. 1).

     The Court has entered judgment to the effect that Golden Spring was the Debtor’s alter ego. See Despins v.
     Golden Spring (New York) Limited (Adv. Proc. No. 23-5018 (the “Golden Spring A.P.”), Docket No. 35). The
     Trustee incorporates by reference herein, the Trustee’s Complaint filed in the Golden Spring A.P. (Adv. Proc.
     No. 23-5018, Docket No. 1).

     The Court has entered judgment to the effect that Lamp Capital was the Debtor’s alter ego. See Despins v.
     Lamp Capital LLC, et al. (Adv. Proc. No. 23-5023 (the “Lamp Capital A.P.”), Docket No. 66). The Trustee
     incorporates by reference herein, the Trustee’s Complaint filed in the Lamp Capital A.P. (Adv. Proc. No. 23-
     5023, Docket No. 1).
4
     These include the following adversary proceedings: (i) Luc A. Despins, Chapter 11 Trustee v. HK International
     Funds Investments (USA) Limited, LLC, et al. [Adv. Proc. No. 22-05003]; (ii) Luc A. Despins, Chapter 11
     Trustee v. Greenwich Land LLC, et al. [Adv. Proc. No. 23-05005]; (iii) Luc A. Despins, Chapter 11 Trustee v.
     Mei Guo [Adv. Proc. No. 23-05008]; (iv) Luc A. Despins, Chapter 11 Trustee v. HCHK Technologies, Inc., et
     al. [Adv. Proc. No. 23-05013]; (v) Luc A. Despins, Chapter 11 Trustee v. Taurus Fund LLC, et al. [Adv. Proc.
     No. 23-05017]; (vi) Luc A. Despins, Chapter 11 Trustee v. Golden Spring (New York) Limited [Adv. Proc. 23-
     05018]; and (vii) Luc A. Despins, Chapter 11 Trustee v. Lamp Capital LLC, et al. [Adv. Proc. 23-05023].
                                                         4
 Case 24-05116       Doc 1     Filed 02/11/24      Entered 02/11/24 14:30:23          Page 7 of 11




       15.     The fact patterns in these litigations consistently involve: (i) Debtor-controlled shell

companies held by close family members and/or subordinates, (ii) assets purchased with cash from

other Debtor-controlled entities and/or transferred to and among shell entities for no consideration,

and (iii) the Debtor benefiting from and having control and dominion over such assets.

       16.     The Debtor also used his alter egos, including Lamp Capital, Golden Spring, and

HCHK Technologies, as personal piggy-banks, funding the lavish lifestyle to which he and his

family had become accustomed, while concealing assets in these alter egos from his creditors and

hindering and delaying creditors from recoveries on their claims. The transfers that the Debtor

effectuated through these alter egos perpetuated the Debtor’s fraudulent scheme. The property of

these alter egos, including Lamp Capital, Golden Spring, and HCHK Technologies, was at all

times prior to the Petition Date property of the Debtor.

C.     Debtor’s Shell Game and Fraud Continues Postpetition

       17.     As of the Petition Date, all of the Debtor’s property held through his alter egos,

including Lamp Capital, Golden Spring, and HCHK Technologies, became property of the

Debtor’s chapter 11 estate. See 11 U.S.C. § 541(a)(1).

       18.     Following the Petition Date, the Debtor, with blatant disregard for the Bankruptcy

Court and his obligations under the Bankruptcy Code, continued to effectuate transfers through

numerous alter-ego shell companies, including, without limitation, Lamp Capital, Golden Spring,

and HCHK Technologies.

       19.     None of these postpetition transfers were authorized by the Bankruptcy Court nor

were such transfers authorized under the Bankruptcy Code.




                                                  5
 Case 24-05116            Doc 1   Filed 02/11/24   Entered 02/11/24 14:30:23        Page 8 of 11




D.      Transfers to the Defendant

        20.     Subsequent to the Petition Date, the Debtor, through shell companies including

Lamp Capital, Golden Spring, and HCHK Technologies, or otherwise, transferred property of the

Debtor’s chapter 11 estate to the Defendant (collectively, the “Transfers”), including, without

limitation, as follows:

        See SCHEDULE A Attached hereto and made a part hereof.

        21.     At the time of the Transfers, the Debtor had outstanding obligations to creditors of

the Debtor’s estate.

        22.     The Defendant was the initial transferee of the Transfers.

                                          FIRST CLAIM

        (Claim to Avoid and Recover Unauthorized Postpetition Transfers pursuant to
                         Bankruptcy Code sections 549 and 550(a))

        23.     The Trustee repeats and realleges the allegations contained in paragraphs 1-22 as if

fully set forth herein.

        24.     The Transfers were made to the Defendant by the Debtor, including through his

alter-ego shell companies, Lamp Capital, Golden Spring, and HCHK Technologies.

        25.     The Transfers occurred after the Petition Date.

        26.     The Transfers were not authorized by the Bankruptcy Court or by the Bankruptcy

Code.

        27.     The Transfers constituted the unauthorized transfer of property of the Debtor’s

chapter 11 estate.

        28.     The Transfers are avoidable pursuant to section 549(a) of the Bankruptcy Code.




                                                   6
 Case 24-05116        Doc 1     Filed 02/11/24    Entered 02/11/24 14:30:23         Page 9 of 11




       29.     Pursuant to section 550(a) of the Bankruptcy Code, the Trustee is entitled to recover

the Transfers, or the value thereof, from the Defendant plus interest thereon to the date of payment

and the costs of this action.

                                       PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, the Trustee respectfully requests that judgment

be entered as follows:

       1.      An order (a) declaring that the Transfers in an amount not less than $535,695.51

are avoided pursuant to section 549 of the Bankruptcy Code; and (b) an order directing that the

Transfers be set aside; and (c) recovery of the Transfers, or the value thereof at the Trustee’s

option, from the Defendant for the benefit of the Debtor’s estate pursuant to section 550(a)(1) of

the Bankruptcy Code;

       2.      Awarding the Trustee pre-judgment interest at the maximum legal rate from the

date of the filing of this Complaint to the date of judgment herein; and

       3.      Such other and further relief as the Court may deem just, proper, or equitable under

the circumstances.

                                [Remainder of Page Intentionally Left Blank]




                                                 7
Case 24-05116     Doc 1    Filed 02/11/24   Entered 02/11/24 14:30:23   Page 10 of 11


Dated: February 11, 2024              LUC A. DESPINS
       New Haven, CT                  CHAPTER 11 TRUSTEE



                                      By: /s/ _Douglas Skalka_______________
                                         Douglas S. Skalka (ct00616)
                                         Patrick R. Linsey (ct29437)
                                         NEUBERT, PEPE & MONTEITH, P.C.
                                         195 Church Street, 13th Floor
                                         New Haven, Connecticut 06510
                                         (203) 781-2847
                                         dskalka@npmlaw.com
                                         plinsey@npmlaw.com
                                         Counsel for the Chapter 11 Trustee




                                            8
Case 24-05116   Doc 1   Filed 02/11/24   Entered 02/11/24 14:30:23   Page 11 of 11




                                 SCHEDULE A

                              FILED UNDER SEAL
